STATEMENT OF FACTS.
Appellee sued appellants to recover damages for compelling him by threats and intimidation to leave the farm on which he resided in Scott County, Arkansas. Appellants *Page 138 
denied that they had made any threats against appellee at all.
Appellee was a witness for himself. According to his testimony, he was road overseer of Tate township, Scott County, Arkansas, in February, 1928, and had nearly a year to serve as such overseer. One night in February, 1928, after he had gone to bed, some one called him to come out. He went to the door and saw all five of the appellants and one other person whom he did not recognize. He knew the appellants and recognized each of them. They told him that he had been stealing hogs and that they had tracked the hogs to his house. They told him that if he did not leave their community within ten days, they would put a rope around his neck. Their threats caused him to take his family and leave that part of the country. He was afraid that they would kill him if he did not leave. He suffered great mental agony and humiliation because he had been accused of something that he was not guilty of. His testimony was corroborated by that of his seventeen-year-old son who knew and recognized the appellants as the men who called his father out and threatened his life, if he did not leave the country. Appellee had just before that purchased a small farm on a credit, and had expended about $50 in improving it.
Each one of the appellants testified that he was at home on the night in question and did not threaten appellee at all. Their testimony was corroborated by that of other witnesses.
The jury returned the following verdict: "We, the jury, find for the plaintiff in the sum of $100 for mental suffering."
Judgment was entered upon the verdict, and the case is here on appeal.
(after stating the facts). According to Blackstone, the absolute rights of each individual are defined to be the right of personal security, the right of personal *Page 139 
liberty, and the right of private property. 3 Cooley, Bl. Com. *119.
According to the allegations of the complaint and the testimony of appellee, there was a willful intimidation of his right of personal security and right of private property by causing him to leave his home by threats and intimidation. This was an actionable wrong. Counsel for appellants concede this to be true, but they seek a reversal of the judgment on the ground that the court erred in allowing plaintiff to recover for mental suffering which was unaccompanied by any physical injury. They rely upon the rule announced in St. L. I. M.  S. Rd. Co. v. Taylor,84 Ark. 42, 104 S.W. 551, 13 L.R.A. (N.S.) 159, and other cases, where we have held, that, in actions for negligence, there can be no mental suffering where there has been no physical injury.
The rule is well settled in this State, but it has no application to willful and wanton wrongs, and those committed with the intention of causing mental distress and injured feelings. Mental suffering forms the proper element of damages in actions for willful and wanton wrongs and those committed with the intention of causing mental distress.
According to the evidence for appellee, the very object of the words spoken in the present case was to cause him mental anxiety and thereby compel him too leave his home and farm, and this was precisely what he said he did do. In the case at bar, the mental suffering was the result of the wrongful acts of appellants against appellee; and, even though there was no physical injury, the courts generally hold that such mental suffering may be taken into consideration in assessing the damages for the wrong. In cases like this the mental suffering was the natural and proximate consequence of the willful wrong which was the basis of the action. Kline v. Kline,158 Ind. 602, 64 N.E. 9, 58 L.R.A. 397; Spade v. Lynn 
Boston Rd. Co., 168 Mass. 285, 47 N.E. 88, 33 L.R.A. 512; Davis v. Tacoma Railway  Power Co., *Page 140 35 Wash. 203, 77 P. 209, 66 L.R.A. 802; Lonergan v. Small,81 Kan. 48, 105 P. 27, 25 L.R.A. (N.S.) 976; 17 C.J. 831; and 8 R.C.L. 531.
This rule has been expressly recognized and applied by this court in Lyons v. Smith, 176 Ark. 728, 3 S.W.2d 982. In that case, plaintiff by threats and intimidation was prevented from growing and cultivating his land, and the court held that, the evidence having showed that a willful and wanton wrong had been committed against her, the trial court properly submitted the question of mental suffering, although it was unaccompanied by physical injury.
No other assignment of error is argued, and the judgment will be affirmed.